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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

DISTRICT EQUITIES REAL ESTATE, LLC
Plaintiff

v. : Case No. 1:19-cv-01096 AJT JFA

URBANSPACE TYSONS, LLC :
Defendant

MOTION TO CONSOLIDATE REQUESTS FOR INJUNCTIVE RELIEF

Plaintiff, District Equities Real Estate, LLC (“District Equities”), by and through its
attorneys, Jeffrey M. Schwaber, Deanna L. Peters, and Stein Sperling Bennett De Jong Driscoll
PC, pursuant to Federal Rule of Civil Procedure Rule 42, hereby files this Motion to Consolidate
Requests for Injunctive Relief to consolidate any hearing on District Equities’ (i) Motion for
Preliminary Injunction Against Urbanspace Tysons, LLC (“Request for Injunction Against
Urbanspace Tysons”), filed in the above-captioned matter and (ii) Motion for Preliminary
Injunction Against Foodhall Holdings, LLC (“Request for Injunction Against Foodhall”), filed in
Case No. 1:19-cv-01266-AJT-JFA, and in support thereof states as follows:

I. On August 19, 2019, District Equities filed its Complaint against Urbanspace
Tysons, LLC (“Urbanspace Tysons”) in the above-captioned matter. The Complaint alleges
Urbanspace Tysons’ tortious interference with a Consulting Agreement that District Equities
entered into with Foodhall Holdings, LLC (the “Agreement”) and violations of the Virginia
Business Conspiracy Act and the Virginia Uniform Trade Secrets Act (the “Lawsuit”).

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DE JONG DRISCOLL PC 2. The Complaint arises out of, among other things, Urbanspace Tysons’ improper

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3. Specifically, as more fully alleged in the Complaint, on or about October 15,
2018, District Equities executed the Agreement, pursuant to which District Equities was engaged
as a Consultant to, among other things, identify vendors to operate in what would become the
Taste of Urbanspace foodhall in Tysons Galleria (the “Tysons Galleria Foodhall Project”).
District Equities was retained for such role because Urbanspace—the brand of companies that
wished to pursue the opportunity to operate the foodhall—had no presence whatsoever in the
Washington Metropolitan Area, and therefore could not possibly pursue the Tysons Galleria
Foodhall Project on its own. Urbanspace, however, was uniquely aware of District Equities’
knowledge and foothold in the Washington Metropolitan Area markets—and particularly of its
deep relationships in the local food and restaurant world—which District Equities had developed
and cultivated over a number of years. As a result, District Equities was approached to help make
the Tysons Galleria Foodhall Project opportunity possible for Urbanspace.

4. District Equities was reticent to pair with Urbanspace, because among other
things, District Equities was concerned that its knowledge, goodwill and proprietary customers
lists and relationships, which took years of devoted time and resources to curate, would be
exploited, only for District Equities then to be cut out of the deal.

5. However, District Equities’ concerns were assuaged by the promise of an eventual
more robust joint venture and the decision that District Equities would be the sole point of
contact on the ground with the prospective—and eventually, actual—tenants. In addition, District
Equities also was assured that its relationships with vendors would remain proprietary to District
Equities under the parties’ negotiated terms.

6. Foodhall—which drafted the Agreement—identified itself as the proper party to

contract with District Equities for the Tysons Galleria Foodhall Project. Based upon District

 
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Equities insistence, among other things, the Agreement imposed restrictions on Foodhall’s
ability to use District Equities’ confidential and proprietary information as well as it limited
Foodhall’s contact with any vendors originated and placed in the project by District Equities.

7. However, in what was made to seem like a last-minute sudden change in plans,
Urbanspace Tysons was made the operator and interface of the Tysons Galleria Foodhall Project.
As a result, Urbanspace Tysons became the natural—and ultimately, the actual—recipient of
District Equities’ confidential and proprietary information, thus purporting to strip away the
explicit contractual protections that District Equities had bargained for as a precondition to
District Equities’ agreement to join the Tysons Galleria Foodhall Project in the first instance.

8. As ultimately revealed by the actions of Urbanspace Tysons and Foodhall,
District Equities’ worst fears were well-grounded. Once District Equities successfully
accomplished its part under the Agreement, it surreptitiously was terminated, without cause, and
cut out of the Tysons Galleria Foodhall Project all together. Even worse, Foodhall and
Urbanspace Tysons are using District Equities’ proprietary relationships as their own and in
addition to that, they are trying to renegotiate longer-term licenses with the tenants originated by
District Equities at terms less favorable to those tenants than previously promised. As such,
District Equities was forced to pursue its legal remedies.

9. More specifically, pursuant to an arbitration clause in the Agreement, on August
16, 2019, District Equities filed a Demand for Arbitration with the American Arbitration
Association against Foodhall for breach of the confidentiality provisions, among others, of the
Agreement. This lawsuit against Urbanspace Tysons—which was not a signatory to the

Agreement and therefore did not agree to arbitration—followed.

 
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10. In light of Foodhall and Urbanspace Tysons’ continued and ongoing exploitation
of District Equities’ confidential and proprietary information, among others things, District
Equities has been forced to seek injunctive relief in order to preserve the status quo such that this
Court in this lawsuit and/or the Arbitrator in the Arbitration are able to render a meaningful
judgment/decision on the merits.

11. To this end, District Equities has filed the Request for Injunction Against
Urbanspace Tysons in the above-captioned matter. In addition, District Equities also has initiated
a separate action in this Court against Foodhall by filing its Request for Injunction Against
Foodhall, which seeks the entry by this Court of a preliminary injunction pending disposition on
the merits of the Arbitration.

12. Both the Request for Injunction Against Urbanspace Tysons and the Request for
Injunction Against Foodhall seek preliminary injunctions that enjoin each entity’s continued use
of District Equities’ confidential and proprietary information pending resolution of the Lawsuit
and/or Arbitration. Furthermore, District Equities asks this Court to enjoin Urbanspace Tysons
and Foodhall from usurping in the interim District Equities’ contractual role to serve as the point
of contact for the tenants of the Tysons Galleria Foodhall Project that were originated by District
Equities.

13. Pursuant to Rule 42, “[i]f actions before the court involve a common question of
law or fact, the court may ... join for hearing ... any or all matters at issue in the actions.” Fed.
R. Civ. P. 42(a)(1).

14. As set forth herein, the Request for Injunction against Urbanspace Tysons in the

Lawsuit and the Request for Injunction against Foodhall in the Arbitration involve nearly

 
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identical facts.! Counsel of record is the same for Urbanspace Tysons in the Lawsuit and

Foodhall in the Arbitration. Therefore, it is in the interest of judicial efficiency and conservation

of party resources to consolidate the hearings, to have these identical facts presented to and heard

by this Court once.

WHEREFORE, District Equities respectfully requests that this Court:

A. Consolidate the hearing on the Request for Injunction Against Urbanspace Tysons

filed in the instant matter with the hearing on the Request for Injunction Against Foodhall filed

in Case No. 1:19-cv-01266-AJT-JFA, to be heard in the above-captioned case before the

Honorable Anthony J. Trenga; and

B. Grant such other and further relief as the nature of its cause may require.

By:

 

Respectfully submitted,

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' In fact, the same affidavits have been submitted in support of the Request for Injunction
Against Urbanspace Tysons and the Request for Injunction Against Foodhall.

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CERTIFICATE OF SERVICE

[ HEREBY CERTIFY that on this 2d day of October 2019, a copy of the foregoing was
served electronically through CM/ECF, to the following person(s):

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